Case 2:06-cr-00095-RHW   ECF No. 114   filed 09/05/07   PageID.243 Page 1 of 6
Case 2:06-cr-00095-RHW   ECF No. 114   filed 09/05/07   PageID.244 Page 2 of 6
Case 2:06-cr-00095-RHW   ECF No. 114   filed 09/05/07   PageID.245 Page 3 of 6
Case 2:06-cr-00095-RHW   ECF No. 114   filed 09/05/07   PageID.246 Page 4 of 6
Case 2:06-cr-00095-RHW   ECF No. 114   filed 09/05/07   PageID.247 Page 5 of 6
Case 2:06-cr-00095-RHW   ECF No. 114   filed 09/05/07   PageID.248 Page 6 of 6
